Case 1:19-md-02915-AJT-JFA Document 210 Filed 12/02/19 Page 1 of 2 PageID# 1186




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division


 IN RE: CAPITAL ONE CONSUMER                          )
 DATA SECURITY BREACH LITIGATION                      )       MDL No. 1:19md2915(AJT/JFA)
                                                      )

 This Document Relates to ALL Cases




                                      PRETRIAL ORDER #3
                                Appointing Plaintiffs' Lead Counsel

        Pursuant to the Initial Order, Pretrial Order #1, issued by this Court on November 1, 2019

 [Doc. 3], the Court has received applications from counsel to serve as Plaintiffs' Lead Counsel

 and on the Plaintiffs' Steering Committee. Upon consideration ofthe applications, nominations,

 and objections filed with respect to the appointment to those positions, it is hereby

        ORDERED that the following be, and the same hereby are, appointed and shall serve as

 Plaintiffs' Co-Lead Counsel:

         1.     Norman E. Siegel, Esq.,
                Stueve Siegel Hanson LLP,
                460 Nichols Road, Suite 200,
                Kansas City, MO 64112;

         2.     Karen Hanson Riebel, Esq.,
                Lockridge Grindal Naun P.L.L.P.,
                100 Washington Avenue South, Suite 200,
                Minneapolis, MN 55401;

         3.     John A. Yanchunis, Esq.,
                Morgan & Morgan Complex Litigation Group,
                201 N. Franklin Street, 7th Floor,
                Tampa,FL 33602

         The Court will maintain under advisement whether to appoint a Plaintiffs' Steering

 Committee, pending its further assessment concerning the need for such a Committee, and Co-
Case 1:19-md-02915-AJT-JFA Document 210 Filed 12/02/19 Page 2 of 2 PageID# 1187
